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JJt: USAO#2021R00127

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
‘
ELIAS NICK COSTIANES, *
Defendant. *

CRIMINAL NO. JKB-21-0458

(Conspiracy to Distribute and to Possess
with Intent to Distribute a Controlled
Substance, 21 U.S.C. § 846; Distribution
of a Controlled Substance, 21 U.S.C. §
841(a)(1); Aiding and Abetting, 18
U.S.C. § 2; Use of Any Communication
Facility to Facilitate Drug Felony, 21
U.S.C. § 843(b); Possession of a Firearm
and Ammunition by an Unlawful User
of Any Controlled Substance, 18 U.S.C.
§ 922(¢)(3); Forfeiture, 18 U.S.C.
§ 924(d), 21 U.S.C. § 853, 28 U.S.C.
§ 2461(c))

SUPERSEDING INDICTMENT

COUNT ONE
(Conspiracy to Distribute and to Possess with Intent to Distribute a Controlled Substance)

The Grand Jury for the District of Maryland charges that:

From in or about June 2019, through in or about February 2021, in the District of Maryland,

and elsewhere, the Defendant,

ELIAS NICK COSTIANES,

did knowingly and willfully combine, conspire, confederate, and agree with persons known and

unknown to the Grand Jury to distribute and to possess with intent to distribute a mixture and

substance containing a detectable amount of testosterone, a Schedule LI] controlled substance, in

violation of 21 U.S.C. § 841(a)(1).

21 U.S.C. § 846
21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)\(E)(i)
COUNT TWO
(Conspiracy to Distribute and to Possess with Intent to Distribute a Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
From in or about May 2020, through in or about December 2020, in the District of
Maryland, and elsewhere, the Defendant,
ELIAS NICK COSTIANES,
did knowingly and willfully combine, conspire, confederate, and agree with persons known and
unknown to the Grand Jury to distribute and to possess with intent to distribute a mixture and

substance containing a detectable amount of cocaine, a Schedule I] controlled substance, in

violation of 21 U.S.C. § 841(a)(1).

21 U.S.C. § 846
21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)(C)
COUNT THREE
(Distribution of a Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
On or about May 29, 2020, in the District of Maryland, and elsewhere, the Defendant,
ELIAS NICK COSTIANES,
did knowingly and intentionally distribute a mixture and substance containing a detectable amount

of testosterone, a Schedule III controlled substance.

21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)(E)(i)
COUNT FOUR
(Use of Any Communication Facility to Facilitate Drug Felony)

The Grand Jury for the District of Maryland further charges that:
On or about May 28, 2020, at approximately 18:05:19 (Eastern Time), in the District of
Maryland, and elsewhere, the Defendant,
ELIAS NICK COSTIANES,
did knowingly and intentionally use any communication facility, to wit, a cellphone assigned call
number (240) 426-4569, in committing, causing, and facilitating the commission of any act or acts
constituting a felony under Title 21, United States Code, Section 841, that is, the offense set forth

in Count Three of this Superseding Indictment incorporated by reference herein.

21 U.S.C. § 843(b)
COUNT FIVE
(Distribution of a Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
On or about October 5, 2020, in the District of Maryland, and elsewhere, the Defendant,
ELIAS NICK COSTIANES,
did knowingly and intentionally distribute a mixture and substance containing a detectable amount

of testosterone, a Schedule III controlled substance.

21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)(E)(i)
18 U.S.C. § 2
COUNT SIX
(Use of Any Communication Facility to Facilitate Drug Felony)

The Grand Jury for the District of Maryland further charges that:
On or about September 15, 2020, at approximately 16:54:05 (Eastern Time), in the District
of Maryland, and elsewhere, the Defendant,
ELIAS NICK COSTIANES,
did knowingly and intentionally use any communication facility, to wit, a cellphone assigned call
number (240) 426-4569, in committing, causing, and facilitating the commission of any act or acts
constituting a felony under Title 21, United States Code, Section 841, that is, the offense set forth

in Count Five of this Superseding Indictment incorporated by reference herein.

21 U.S.C. § 843(b)
COUNT SEVEN
(Distribution of a Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
On or about October 30, 2020, in the District of Maryland, and elsewhere, the Defendant,
ELIAS NICK COSTIANES,
did knowingly and intentionally distribute a mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance.

21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)(C)
COUNT EIGHT
(Use of Any Communication Facility to Facilitate Drug Felony)

The Grand Jury for the District of Maryland further charges that:
On or about October 30, 2020, at approximately 15:05:06 (Eastern Time), in the District
of Maryland, and elsewhere, the Defendant,
ELIAS NICK COSTIANES,
did knowingly and intentionally use any communication facility, to wit, a cellphone assigned call
number (240) 426-4569, in committing, causing, and facilitating the commission of any act or acts
constituting a felony under Title 21, United States Code, Section 841, that is, the offense set forth

in Count Seven of this Superseding Indictment incorporated by reference herein.

21 U.S.C. § 843(b)
COUNT NINE
(Possession of a Firearm and Ammunition by
an Unlawful User of or Addict to Any Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
On or about February 12, 2021, in the District of Maryland, the Defendant,
ELIAS NICK COSTIANES,

knowing he was an unlawful user of and addict to any controlled substance as defined in 21 U.S.C.
§ 802, knowingly possessed a firearm and ammunition: to wit, (a) one Glock 17 9mm pistol,
bearing serial number SGS663; (b) one Smith & Wesson M&P 15 .556 caliber semi-automatic
rifle, bearing serial number SN90598; (c) one Ruger Mini 14 Ranch Rifle .223 caliber semi-
automatic rifle, bearing serial number 580-94983; (d) one Remington Model 870 12-gauge
shotgun, bearing no visible serial number; (e) one box of Federal .556 caliber ammunition; (f) four
boxes of .22 caliber long rifle ammunition with unknown manufacturer; (g) ten boxes of
Remington 12-gauge ammunition; (h) three boxes of Winchester 9mm ammunition; (i) three
rounds of Federal 9mm ammunition; (j) six boxes of 12-gauge buckshot with unknown
manufacturer; (k) one box of Winchester .556 caliber ammunition; (1) three boxes of Winchester
.223 caliber ammunition; (m) one round of 12-gauge ammunition with unknown manufacturer; (n)
29 rounds of .223 caliber ammunition with unknown manufacturer; (0) 14 rounds of 9mm Luger
ammunition; (p) 47 rounds of .22 caliber long rifle ammunition; (q) 14 rounds of Remington 12-
gauge ammunition; (r) 5 rounds of Winchester 12-gauge ammunition; (s) and 100 rounds of
Federal 9mm Luger ammunition; and COSTIANES’s possession thereof was in and affecting

commerce.

18 U.S.C. § 922(g)(3)
18 U.S.C. § 924(a)(2)
FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

l. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
Defendant that the United States will seek forfeiture as part of any sentence in accordance with 18
U.S.C. § 924(d), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), in the event of the Defendant’s
convictions on Counts One through Nine of this Superseding Indictment.

Narcotics Forfeiture

2 Upon conviction of the offenses set forth in Counts One through Eight of this
Superseding Indictment, the Defendant,
ELIAS NICK COSTIANES,
shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a), (1) any property constituting, or
derived from, any proceeds obtained, directly or indirectly, as the result of the offense, and (2) any
property used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, the offense.

Firearms and Ammunition Forfeiture

a. Upon conviction of the offense set forth in Count Nine of this Superseding
Indictment, the Defendant,
ELIAS NICK COSTIANES,
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any
firearms and ammunition involved in the commission of the offense.

Property Subject to Forfeiture

4. The property to be forfeited includes, but is not limited to:

a. one Glock 17 9mm pistol, bearing serial number SGS663;

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one Smith & Wesson M&P 15 .556 caliber semi-automatic rifle, bearing
serial number SN90598;

one Ruger Mini 14 Ranch Rifle .223 caliber semi-automatic rifle, bearing
serial number 580-94983;:

one Remington Model 870 12-gauge shotgun, bearing no visible serial
number:

approximately one box of Federal .556 caliber ammunition;

approximately four boxes of .22 caliber long rifle ammunition with
unknown manufacturer;

approximately ten boxes of Remington 12-gauge ammunition;
approximately three boxes of Winchester 9mm ammunition;
approximately three rounds of Federal 9mm ammunition;

approximately six boxes of 12-gauge buckshot with unknown
manufacturer;

approximately one box of Winchester .556 caliber ammunition;
approximately three boxes of Winchester .223 caliber ammunition;

approximately one round of 12-gauge ammunition with unknown
manufacturer;

approximately 29 rounds of .223 caliber ammunition with unknown
manufacturer;

approximately 14 rounds of 9mm Luger ammunition;
approximately 47 rounds of .22 caliber long rifle ammunition;
approximately 14 rounds of Remington 12-gauge ammunition;
approximately 5 rounds of Winchester 12-gauge ammunition; and

approximately 100 rounds of Federal 9mm Luger ammunition.

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Substitute Assets

3 If, as a result of any act or omission of the Defendant, any of the property described
above:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e, has been commingled with other property that cannot be subdivided without
difficulty,

the United States shall be entitled to forfeiture of substitute property, pursuant to 21 U.S.C.
§ 853(p), as incorporated by 28 U.S.C. § 2461(c), up to the value of the forfeitable property

described above.

18 U.S.C. § 924(d)
21 U.S.C. § 853
28 U.S.C. § 2461(c)

bd dt. Zo | sv

EREK L. BARRON
UNITED STATES ATTORNEY

A TRUE BILL: K
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Date Foreperson I

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